Case 1:05-CV-05231-R.]S Document 692 Filed 01/02/18 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT ()F NEW YORK

 

SECURITIES AND EXCHANGE
COMMISSION,

Plaintiff, : 05 Civ. 5231 (RJS)
-against- :

AFFIDAVIT OF PAULA K. COLBATH
AMERINDO INVESTMENT ADVISORS INC., :

et al.,

Defendants.

 

STATE OF NEW YORK )
) SS.
COUNTY OF NEW YORK )

PAULA K. COLBATH, being duly sworn, deposes and says:

l. I am a member of the law firm Loeb & Loeb LLP (“Loeb), attorneys for
Interested Parties Alfred Heitkonig, Elna Charlotte Olga a/k/a Elna Heitkonig and Maaike Olga
Maria Hickok a/k/a Maaike Heitkonig (“the Heitkonig Interested Parties”) in this action.

2. I make this affidavit in support Loeb’s motion for an Order pursuant to Rule 1.4
of the Local Rules of the Southern and Eastern District of New York permitting Loeb to
Withdraw as counsel of record for the Heitkonig Interested Parties in this action.

3. This Receivership Proceeding is currently active. There is no trial date scheduled
on this Court’s calendar nor is one expected to be held by this Court. There are also no current

case management orders with any pending deadlines

Case 1:05-CV-05231-R.]S Document 692 Filed 01/02/18 Page 2 of 2

4. On August 25, 2017, the Heitkonig Interested Parties filed a notice of cross-
appeal from the appeals filed from this Court’s July 14, 2017 Opim`on and Order. This appeal
remains pending With the United States Court of Appeals for the Second Circuit.

5. This request to Withdraw is made because (l) Leo Esses, Esq. of The Esses Law
Group, LLC has filed a Notice of Appearance on behalf of Maaike Heitkonig, and (2) Maaike
Heitkonig and Elna Heitkonig are also being advised on Amerindo related matters by the firm of
Smigel Anderson & Sacks LLP. Furthermore, Mr. Alfred Heitkonig has advised me that he
Wishes to proceed pro se in this matter.

6. Loeb Will not be asserting charging lien With respect to any fees it is owed.

7. The Heitkonig Interested Parties are being served With these papers in accordance
with Local Rule 1.4.

WHEREFORE, it is respectfully requested that Loeb’s motion be granted and that it be

permitted to Withdraw as counsel for the Heitkonig Interested Parties.

 

Paula K. olba

Sworn to before me this
2nd day of January, 2018

,y/§&

Notary Public

TlMOTHY B. CUMM|NS
mary public, Swte of New York
No. 01 CU6113096
Qualiiied in New York Counly
Commissio'n Expku duly 19. 2020

